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CLERK'S vista? COURT
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Inve: Zappos.com, Inc. Customer Data Security Breach Litigation
United States District Court, District of Nevada

Case No, 3:12-cv-00325-RCJ-VPC

MDL No. 2357

Clerk’s Office ,

United States District Court, District of Nevada
333 Las Vegas Blvd South

Las Vegas, NV 89101

OBJECTION OF PROPOSED CLASS ACTION SETTLEMENT

Dear Clerk of the Court,

I am an unnamed member of the affected class set forth in Case No. 3:12-cv-00325-RCJ-VPC. I fully object
the proposed settlement terms emailed to class members by the Settlement Administrator on 17 October 2019
and hereby request that the court deny the proposed settlement.

In light of the harm suffered by class members, the proposed terms of the settlement inequitably compensates
the Class Council’s team and fails to provide any meaningful relief to the class purportedly represented by thi
action. As I understand under the proposal, Zappos.com will pay $2,500 to each of the nine named Class
Representatives and will pay $1,597,500 to Class Council, while the countless unnamed Class Members receive
only a voucher valid for 10% off a future purchase (which must be completed on or before 31 December 2019) —
a settlement that against common sense, requires the damaged class to pay more money to Zappos.com in order
to receive any form of relief.

This proposed settlement rewards everyone involved but the very class it allegedly seeks to protect and shoul
be denied.

As instructed by the settlement proposal documentation, [ have provided my full name and contact informatio
above. My email on file with Zappos.com, for the purpose of verifying my Class Member status, is
zappos(@fwd.russak.org, I will not be able to attend the Final Approval Hearing in person or through counsel,
as it is not economically feasible for me to travel out of state to appear Pro Se.

It is my sincere hope that the Court will agree that this proposed settlement fails in its duty to provide any
meaningful equitable relief to those affected by the alleged actions of Zappos.com and will deny the settlement.

 

Sincerely,

cc: Mr. Ben Banow, Class Council
Stephen J. Newman, Counsel for Zappos

 
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N M. Russak

Case 3:12-cv-00325-RCJ-CLB Document 372 Filed

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United States District Court
District of Nevada

333 Las Vegas Blvd South
Las Vegas, NV 89101

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